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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 MERCER COUNTY COMMUNITY                         Civil Action No. 1:19-cv-10217-FLW-LHG
 COLLEGE,

                    Plaintiff,
                                                      STIPULATION OF DISMISSAL
            v.                                           WITHOUT PREJUDICE

 AIG CLAIMS, INC. and NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA

                    Defendant.


       The Parties having agreed to proceed to mediation in accordance with the National Union

Fire Insurance Company of Pittsburgh, Pa (“National Union”) policy’s ADR provision, it is hereby

stipulated and agreed by and between Plaintiff Mercer County Community College, and

Defendants AIG Claims, Inc. and National Union that the matter be and hereby is dismissed

without prejudice and without costs.


GORDON & REES                               ADAMS, GUTIERREZ AND
SCULLY MANSUKHANI, LLP                      LATTIBOUDERE, LLC

/s/ Keith J. Murphy                         /s/ Sandro Polledri
Keith J. Murphy, Esq.                       Sandro Polledri, Esq.
Attorneys for AIG Claims, Inc. and          Attorneys for Mercer County Community College
National Union Fire Insurance Co.
Of Pittsburgh, Pa.

SO ORDERED:



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Hon. Freda L. Wolfson, Chief Judge
